
Shields, Special J.;
sitting in place of Deadeeiok, J., of counsel; delivered the opinion of the-Court.
The action is on a note, payable in current money. The plea is, that the ipote was made in consideration of Confederate Treasury notes.
The verdict and judgment were for the plaintiff. On the trial the Court permitted the plaintiff below to examine a witness, after the evidence of the defendant had been closed, whose testimony was not strictly rebutting testimony. This is assigned as error. We do not think that it is. The matter was one within the sound discretion of the Court. There is nothing in this record to show that it was improperly exercised, and the presumption is in favor of the validity of the proceeding.
It is insisted that the judgment should be reversed, because it is not sustained by evidence. We do not concur in this view of the case. The answer to the peti*88tion for discovery is not made a part of the bill of exceptions; and, as it was not necessarily read as evidence, it being competent for the defendant to read it, but not for the plaintiff below, it is not a part of the record, and can not be ■ looked to. The testimony of the witnesses examined is conflicting, and granting that the weight of evidence is against the verdict, there is not such a preponderance as to bring the case within the rule which this Court applies to the decision of the question.
Besides, we are by no means satisfied that the plea is a valid defense to the action, if true. The verdict and judgment are for the full amount of the note. In the absence of proof to the contrary, the presumption is that the verdict of the jury is correct. The errors in the charge of the Court are all clearly such as the plaintiff in error can not complain of, because they are in his favor.
Affirm the judgment.
